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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )       CHAPTER 13
JACQUELINE EVETTE HOLLAND                     )       CASE: A18-55621-WLH
                                              )
                                              )
                 DEBTOR                       )

           CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                      AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                             1.

      The Trustee was unable to conduct the Meeting of Creditors pursuant to 11 U.S.C.
Section 341 because the Debtor failed to appear.

                                             2.

        The Debtor's payments under the proposed plan are not current, thus indicating that
this plan is not feasible. 11 U.S.C. Section 1325(a)(6).

                                             3.

       The Chapter 13 Trustee is unable to determine the feasibility of the Debtor’s
Chapter 13 plan because Internal Revenue Service records indicate tax returns have not
been filed for the period(s) ending December 31, 2017. The failure to file tax returns for
the four (4) year period prior to the filing of the bankruptcy case is in violation of 11
U.S.C. Section 1308.

                                             4.

      The plan as proposed will extend to two hundred eighty three (283) months, which
exceeds the sixty (60) months allowed by 11 U.S.C. Section 1322(d).

                                             5.

       The Debtor has failed to provide to the Trustee a copy of the 2017 tax return filed
with Internal Revenue Service in violation of 11 U.S.C. Section 521(e)(2)(A).
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      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 23rd day of May, 2018.
                                       Respectfully submitted,

                                       /s/__________________________________
                                       Nancy J. Whaley
                                       Standing Chapter 13 Trustee
                                       State Bar No. 377941
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                             CERTIFICATE OF SERVICE


Case No: A18-55621-WLH

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case by
depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.


Debtor(s)
JACQUELINE EVETTE HOLLAND
9893 VISTA CIRCLE
UNION CITY, GA 30291



By Consent of the parties, the following have received an electronic copy of the
foregoing Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case
through the Court's Electronic Case Filing system.

Debtor(s) Attorney:
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 23rd day of May, 2018.


/s/__________________________________
Nancy J. Whaley
Standing Chapter 13 Trustee
State Bar No. 377941
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
